     Case 4:20-cv-05146-YGR         Document 678        Filed 05/27/22      Page 1 of 7




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14                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
15                                     OAKLAND DIVISION
16   PATRICK CALHOUN, et al., on behalf           Case No. 4:20-cv-05146-YGR-SVK
17   of themselves and all others similarly
                                                  PLAINTIFFS’ SUPPLEMENT TO
     situated,                                    ADMINISTRATIVE MOTION FOR LEAVE TO
18
                  Plaintiffs,                     SET BRIEFING SCHEDULE (IN RESPONSE
19                                                TO DKT. NO. 674)
          v.
20
     GOOGLE LLC,                                  Referral:   Honorable Susan van Keulen
21
                  Defendant.
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25             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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                                                                           Case No. 4:20-cv-05146-YGR-SVK
                                                     PLS.’ SUPP. ADMIN. REQUEST IN RESPONSE TO DKT. NO. 674
     Case 4:20-cv-05146-YGR           Document 678        Filed 05/27/22       Page 2 of 7




 1          By this motion, Plaintiffs seek leave to brief several disputes that have been pending since

 2 before the close of discovery, including a dispute that the Special Master directed Plaintiffs raise to

 3 the Court regarding Dispute 1.3. Good cause exists to brief these issues at this time as the issues

 4 stem from Court orders which directed Google compliance, or otherwise were occasioned by

 5 Google’s stonewalling in meet and confers and belated productions.

 6          1.     RFP No. 5: Historically Searched and Preserved Plaintiff Data (Dispute 1.3):

 7 Plaintiffs seek production of Named Plaintiffs data that Google searched and preserved long ago,

 8 but which is still being withheld despite multiple Court orders. See, e.g., Dkt. 173 (April 30, 2021

 9 Order), Dkt. 377 (November 12, 2021 Order).

10          The data at issue is sitting on a litigation platform at Google, and it was long ago gathered

11 from multiple data sources using the Named Plaintiffs’ identifiers. There is no dispute that the data

12 is responsive and covered by the Court’s orders, and indeed some of it has already been produced,

13 except for a tranche of data for which Google contends it must first notify third party publishers.

14 The Special Master rejected Google’s arguments for not producing, and on May 14, 2022, ordered

15 Google to produce this information on pain of sanctions. Google has refused to fully comply. On

16 May 25, 2022, the Special Master directed that this aspect of Dispute 1.3 – Google’s failure to

17 produce remaining historically searched and preserved Named Plaintiff data – should be brought

18 to the Court as a legal question, as there is no technical dispute as to production. Plaintiffs submit

19 that there is good cause to brief this issue and compel production of this information, as it is made

20 at the direction of the Special Master this week, and any delays were caused by Google’s refusal to

21 comply with Court orders.

22          This dispute, as well as Dispute Nos. 2 and 4 below, relate to Plaintiffs’ motion for sanctions

23 filed earlier this week, set for argument on August 11, 2022. Production of the remaining data and

24 responses cannot cure the severe prejudice to Plaintiffs by Google’s past discovery misconduct. But

25 because of upcoming expert discovery deadlines (Plaintiffs’ expert reports currently due on June 22,

26 2022), Plaintiffs respectfully request the opportunity to brief a motion to compel now.

27          2.     Interrogatory (ROG) Nos. 22 and 23,                              (Dispute 1.32): In the

28 Parties’ joint discovery chart submission of March 2022, Google agreed to amend its responses to

                                                       -1-                    Case No. 4:20-cv-05146-YGR-SVK
                                                        PLS.’ SUPP. ADMIN. REQUEST IN RESPONSE TO DKT. NO. 674
     Case 4:20-cv-05146-YGR             Document 678       Filed 05/27/22       Page 3 of 7




 1 ROG Nos. 22 and 23 to address Plaintiffs’ concerns. Accordingly, on March 18, 2022, the Court

 2 ordered Google to provide its amended responses to ROG Nos. 22 and 23 by March 25, 2022 (Dkt.

 3 579-5), and Google served its amended responses on April 8, 2022. But rather than amended its

 4 answer as agreed, Google provided the same non-response based on the cured objection. The parties

 5 met and conferred on April 20, 2022, after which Google agreed to review its response and provide

 6 an update as to its position. Plaintiffs sent follow up requests on April 25, 2022, May 4, 2022, May

 7 9, 2022, and May 11, 2022. Google did not respond until May 13, 2022, confirming that it would

 8 not deviate from its original position. Plaintiffs submit that good cause exists to brief this issue to

 9 the Court and move to compel responses, as the Court already ordered Google to amend its responses

10 to address Plaintiffs’ concerns. Google then violated the order, and delayed until May 13, 2022 to

11 confirm that it would not alter its position.

12          3.        ROG No. 21, Percentage of Not Synced Users: As with ROG Nos. 22 and 23 above,

13 Google originally agreed to amend its response to ROG No. 21 to address Plaintiffs concerns. On

14 March 18, 2022, the Court ordered Google to provide its amended responses (Dkt. 579-5), and

15 Google served its amended responses on April 8, 2022. But Google’s amended response fails to

16 identify the overall percentages of the various browser-states at issue. Plaintiffs are currently

17 reviewing the supplemental answer with their experts. Plaintiffs include this item in their list out of

18 caution should Plaintiffs’ experts conclude that the answer is not sufficient. For the same reasons

19 stated above, good cause exists to brief this issue and compel responses at this time.

20          4.        ROG Nos. 3 and 4, Identification of Total Number of Not Synced Users: ROG

21 Nos. 3 and 4 ask Google to

22                                         . On September 30, 2020, Google answered the interrogatories

23 by claiming that “

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25               ” On March 5, 2021, during the hearing on Google’s motion for protective order, the Court

26 asked Google, “Is Google able to identify the number of unsynced users who are using Chrome …

27 for any identified period of time – and maybe it’s very limited.” In response, Google stated, “

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                                                        -2-                    Case No. 4:20-cv-05146-YGR-SVK
                                                         PLS.’ SUPP. ADMIN. REQUEST IN RESPONSE TO DKT. NO. 674
     Case 4:20-cv-05146-YGR              Document 678       Filed 05/27/22       Page 4 of 7




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 2                ” Mar. 5, 2021 Tr. 23:1-24:3.

 3           Plaintiffs attempted to get more accurate answers to ROG Nos. 3 and 4 through the

 4 Interrogatories requesting that Google identify class members. Because Google has simultaneously

 5 withheld from Plaintiffs significant data relating to                     , and indeed some of it may not

 6 be preserved, Plaintiffs cannot calculate it themselves. Google contends that this issue is still not

 7 ripe because preservation discussions are “on going.” Plaintiffs submit that there is good cause to

 8 brief this issue and compel responses, as delay was caused by Google’s misrepresentation and

 9 withholding of key discovery on                        , which, had Plaintiffs been aware of, would have

10 been a basis to move to compel these responses sooner.

11           5.        Google Not Prepared for 30(b)(6) Deposition on Display Ads Profits and Losses:

12 On May 24, 2022, on a schedule and process approved by the Court, Plaintiffs took the 30(b)(6)

13 deposition of Google employee Katie Lewinski relating

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19                         . The questions for which Plaintiffs seek answers are not complicated and Google

20 has systems in place to provide those answers. Google’s refusal to answer is highly prejudicial to

21 Plaintiffs. Rather than re-open the deposition, Plaintiff seek a ruling from the Court that Google must

22 either (1) answer the questions that were identified in advance; or (2)

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24                                                       . Plaintiffs submit that good cause exists to brief

25 these issues, as the deposition occurred just last week.

26           Plaintiffs respectfully request that the Court grant leave to submit discovery briefing on these

27 issues.

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                                                         -3-                    Case No. 4:20-cv-05146-YGR-SVK
                                                          PLS.’ SUPP. ADMIN. REQUEST IN RESPONSE TO DKT. NO. 674
     Case 4:20-cv-05146-YGR          Document 678       Filed 05/27/22       Page 5 of 7




 1 Respectfully submitted this 27th day of May 2022.

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                                           Counsel for Plaintiffs
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                                                     -4-                    Case No. 4:20-cv-05146-YGR-SVK
                                                      PLS.’ SUPP. ADMIN. REQUEST IN RESPONSE TO DKT. NO. 674
     Case 4:20-cv-05146-YGR           Document 678        Filed 05/27/22      Page 6 of 7




 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

 2          I, Lesley E. Weaver, attest that concurrence in the filing of this document has been obtained

 3 from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4          Executed this 27th day of May, 2022, at Oakland, California.

 5
                                                          /s/ Lesley E. Weaver
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                                                          Lesley E. Weaver
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                                                      -5-                    Case No. 4:20-cv-05146-YGR-SVK
                                                       PLS.’ SUPP. ADMIN. REQUEST IN RESPONSE TO DKT. NO. 674
         Case 4:20-cv-05146-YGR        Document 678          Filed 05/27/22       Page 7 of 7




 1                                    CERTIFICATE OF SERVICE

 2          I, Lesley E. Weaver, hereby certify that on May 27, 2022, I caused to be electronically filed

 3 the foregoing document with the Clerk of the United States District Court for the Northern District of

 4 California using the CM/ECF system, which will send electronic notification to all counsel of record.

 5 I also caused a copy of the under seal filings to be provided to counsel of record for Defendant via

 6 electronic mail.

 7                                                         /s/ Lesley E. Weaver
                                                           Lesley E. Weaver
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                                                     -6-                    Case No. 4:20-cv-05146-YGR-SVK
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                                                      PLS.’ SUPP. ADMIN. REQUEST IN RESPONSE TO DKT. NO. 674
